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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH

 

NORTHERN REGAL HOMES, INC. and

RICK WILLIAMS, REQUEST FOR SETTLEMENT
CONFERENCE
Plaintiffs,
vs.
Case No. l:lS-cv-OOO35-CW-BCW

ROUNDPOINT MORTGAGE SERVICING

CoRPoRATIoN and NATIoNsTAR, rNC., District J“dge ml N~ Pmish

Defendants.

 

 

Plaintiffs Northern Regal Homes, Inc. and Rick Williams, by and through their counsel,
l\/l. Darin Hammond of the law firm of SMITH KNOWLES, P.C., hereby request that the Court
refer this matter for a settlement conference pursuant to D.U. Civ. R. 16~3. The Parties had
originally intended to mediate this matter but have recently instead decided to request a
settlement conference through the Court’s alternative dispute resolution process. Based upon
discussions With counsel, the undersigned is of the understanding that Defendant RoundPoint

Mortgage Servicing Corporation Will join in this request for a settlement conference

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DATED this f f day of September, 2015.

SMITH KNOWLES, P.C.

 

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‘§l\/I.C Darin Hammond

Attorneysfor Plaz`ntiffs

CERTIFICATE OF SERVICE
l hereby certify that on this l l)(-»b day of September, 2015, l mailed a true and correct
copy of the foregoing, REQUEST FOR SETTLEMENT CONFERENCE via First Class

United States mail, or ECF transmission as follows:

¢ M. Darin Hammond
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